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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION


                                               §
                                               §
CELLULAR COMMUNICATIONS                        §
EQUIPMENT LLC,                                 §
                                               §
       Plaintiff,                              §
                                               §
                                                        CIVIL ACTION NO. 6:13-cv-511
v.                                             §
                                               §          JURY TRIAL DEMANDED
                                               §
ZTE CORPORATION, ZTE (USA) INC.,               §
ZTE SOLUTIONS, INC.,                           §
AT&T MOBILITY LLC,                             §
CELLCO PARTNERSHIP INC. D/B/A                  §
VERIZON WIRELESS,                              §
SPRINT SOLUTIONS, INC.,                        §
SPRINT SPECTRUM L.P.,                          §
BOOST MOBILE, LLC,                             §
T-MOBILE USA, INC., and                        §
T-MOBILE US, INC.,                             §
                                               §
       Defendants.                             §
                                               §


                     PLAINTIFF’S FIRST AMENDED COMPLAINT
                          FOR PATENT INFRINGEMENT

       Plaintiff Cellular Communications Equipment LLC files this First Amended Complaint

against ZTE Corporation; ZTE (USA) Inc.; ZTE Solutions, Inc.; AT&T Mobility LLC; Cellco

Partnership d/b/a Verizon Wireless; Sprint Solutions, Inc.; Sprint Spectrum L.P.; Boost Mobile,

LLC; T-Mobile USA, Inc.; and T-Mobile US, Inc. (collectively, the “Defendants”) for

infringement of U.S. Patent No. 6,819,923 (“the ’9923 patent”), U.S. Patent No. 7,215,962 (“the

’962 patent”), U.S. Patent No. 7,941,174 (“the ’174 patent”), U.S. Patent No. 8,055,820 (“the




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’820 patent”), U.S. Patent No. 7,218,923 (“the ’8923 patent”), U.S. Patent No. 6,810,019 (“the

’019 patent”), and U.S. Patent No. 6,377,804 (“the ’804 patent”).

                                        THE PARTIES

       1.     Cellular Communications Equipment LLC (“CCE”) is a Texas limited liability

company with its principal place of business in Plano, Texas.

       2.     On information and belief, ZTE Corporation is a corporation organized and

existing under the laws of the People’s Republic of China with its principal place of business in

ZTE Plaza, Keji Road South, Hi-Tech Industrial Park, Nanshan District, Shenzhen, Guangdong

Province, P.R. China 518057. This Defendant does business in the State of Texas and in the

Eastern District of Texas. This Defendant has been served with process and has appeared.

       3.     ZTE (USA) Inc. is a New Jersey corporation with its principal place of business

in Richardson, Texas. This Defendant does business in the State of Texas and in the Eastern

District of Texas. This Defendant has been served with process and has appeared.

       4.     ZTE Solutions Inc. (with ZTE Corp. and ZTE (USA) Inc., “ZTE”) is a

Delaware corporation with its principal place of business in Richardson, Texas.             This

Defendant does business in the State of Texas and in the Eastern District of Texas. This

Defendant has been served with process and has appeared.

       5.     AT&T Mobility LLC (“AT&T”) is a Delaware limited liability company with its

principal place of business in Atlanta, Georgia. This Defendant does business in the State of

Texas and in the Eastern District of Texas. This Defendant has been served with process and has

appeared.

       6.     Cellco Partnership d/b/a Verizon Wireless (“Verizon”) is a Delaware general

partnership with its principal place of business in Basking Ridge, New Jersey. This Defendant


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does business in the State of Texas and in the Eastern District of Texas. This Defendant has

been served with process and has appeared.

       7.     Sprint Solutions, Inc. is a Delaware corporation with its principal place of

business in Reston, Virginia. This Defendant does business in the State of Texas and in the

Eastern District of Texas. This Defendant has been served with process and has appeared.

       8.     Sprint Spectrum L.P. is a Delaware limited partnership with its principal place of

business in Overland Park, Kansas. This Defendant does business in the State of Texas and in

the Eastern District of Texas. This Defendant has been served with process and has appeared.

       9.     Boost Mobile, LLC (with Sprint Solutions, Inc., and Sprint Spectrum L.P.,

“Sprint”) is a Delaware limited liability company with its principal place of business in Irvine,

California. This Defendant does business in the State of Texas and in the Eastern District of

Texas. This Defendant has been served with process and has appeared.

       10.    T-Mobile USA, Inc. is a Delaware corporation with a principal place of business

in Bellevue, Washington. T-Mobile USA, Inc. maintains a significant presence in Richardson,

Texas and offers products and services under the T-Mobile and MetroPCS brands.              This

Defendant does business in the State of Texas and in the Eastern District of Texas. This

Defendant has been served with process and has appeared.

       11.    T-Mobile US, Inc. (with T-Mobile USA, Inc., “T-Mobile”) is a Delaware

corporation with its principal place of business in Bellevue, Washington. T-Mobile US, Inc.

maintains a significant presence in Richardson, Texas, and offers products and services under the

T-Mobile and MetroPCS brands. This Defendant does business in the State of Texas and in the

Eastern District of Texas. This Defendant has been served with process and has appeared.




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                                  JURISDICTION AND VENUE

        12.      This action arises under the patent laws of the United States, namely 35 U.S.C. §§

271, 281, and 284-285, among others.

        13.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a), and 1367.

        14.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (c),

and 1400(b). On information and belief, each Defendant is deemed to reside in this judicial

district, has committed acts of infringement in this judicial district, has purposely transacted

business in this judicial district, and/or has regular and established places of business in this

judicial district.

        15.      On information and belief, each Defendant is subject to this Court’s specific and

general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at

least to their substantial business in this State and judicial district, including: (A) at least part of

their infringing activities alleged herein; and (B) regularly doing or soliciting business, engaging

in other persistent conduct, and/or deriving substantial revenue from goods sold and services

provided to Texas residents.

                                              COUNT I

                       (INFRINGEMENT OF U.S. PATENT NO. 6,819,923)

        16.      CCE incorporates paragraphs 1 through 15 herein by reference.

        17.      CCE is the assignee of the ’9923 patent, entitled “Method for Communication of

Neighbor Cell Information,” with ownership of all substantial rights in the ’9923 patent,

including the right to exclude others and to enforce, sue and recover damages for past and future

infringements. A true and correct copy of the ’9923 patent is attached as Exhibit A.


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          18.   The ’9923 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

          19.   Defendants ZTE, AT&T, and T-Mobile have and continue to directly infringe one

or more claims of the ’9923 patent in this judicial district and elsewhere in Texas and the United

States, including at least claim 11, by, among other things, making, using, offering for sale,

selling and/or importing ZTE mobile devices, including, for example: the ZTE Avail, the ZTE

Z221 GoPhone, and the ZTE Z431 GoPhone, sold or otherwise distributed by or through AT&T

(the “’9923 AT&T Mobile Devices”); and the ZTE Aspect, the ZTE Concord, the ZTE T-Mobile

4G Hotspot, and the ZTE T-Mobile Sonic 2.0 Mobile Hotspot, sold or otherwise distributed by

or through T-Mobile (the “’9923 T-Mobile Mobile Devices”). These devices are collectively

referred to as the “’9923 ZTE Devices.”

          20.   Defendants directly infringe the apparatus claims of the ’9923 patent by making,

offering to sell, selling, and/or importing the ’9923 ZTE Devices. Defendants are thereby liable

for direct infringement.

          21.   On information and belief, each Defendant is a 3GPP member organization, or is

affiliated with a 3GPP member organization, and has known of the ’9923 patent at least as early

as April 2010, when it was disclosed to 3GPP via the European Telecommunications Standards

Institute (“ETSI,” an organizational member of 3GPP).

          22.   On information and belief, despite having knowledge of the ’9923 patent and

knowledge that they are directly infringing one or more claims of the ’9923 patent, Defendants

named in this Count have nevertheless continued their infringing conduct and disregarded an

objectively high likelihood of infringement; thus, Defendants’ infringing activities relative to the

’9923 patent have been, and continue to be, willful, wanton and deliberate in disregard of CCE’s

rights.
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       23.       On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import ’9923 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       24.       On information and belief, ZTE and T-Mobile test, make, use, offer for sale, sell,

and/or import ’9923 T-Mobile Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and T-Mobile are jointly, severally, or alternatively liable for

infringements described in this Count.

       25.       CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT II

                       (INFRINGEMENT OF U.S. PATENT NO. 7,215,962)

       26.       CCE incorporates paragraphs 1 through 15 herein by reference.

       27.       CCE is the assignee of the ’962 patent, entitled “Method for an Intersystem

Connection Handover,” with ownership of all substantial rights in the ’962 patent, including the

right to exclude others and to enforce, sue and recover damages for past and future

infringements. A true and correct copy of the ’962 patent is attached as Exhibit B.

       28.       The ’962 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.


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       29.      Defendants ZTE, AT&T, Verizon, Sprint, and T-Mobile have and continue to

directly and/or indirectly infringe (by inducing infringement and/or contributing to infringement)

one or more claims of the ’962 patent in this judicial district and elsewhere in Texas and the

United States, including at least claims 1, 2, 11, 12, and 13, by, among other things, making,

using, offering for sale, selling and/or importing ZTE mobile devices, including, for example: the

ZTE Z221 GoPhone, the ZTE Z431 GoPhone, and the ZTE Avail, sold or otherwise distributed

by or through AT&T (the “’962 AT&T Mobile Devices”); the ZTE Jetpack 4G LTE Mobile

Hotspot 890L, sold or otherwise provided by Verizon (the “’962 Verizon Mobile Devices”); the

ZTE Force and the ZTE Flash, sold or otherwise distributed by or through Sprint (the “’962

Sprint Mobile Devices”); and the ZTE Anthem 4G, the ZTE Avid 4G, the ZTE Aspect, the ZTE

Concord, the ZTE T-Mobile 4G Hotspot, and the ZTE T-Mobile Sonic 2.0 Mobile Hotspot, sold

or otherwise distributed by or through T-Mobile (the “’962 T-Mobile Mobile Devices”). These

devices are collectively referred to as the “’962 ZTE Devices.”

       30.      Defendants directly infringe the apparatus claims of the ’962 patent by making,

offering to sell, selling, and/or importing the ’962 ZTE Devices. Defendants also directly

infringe the ’962 patent by making, using, selling, offering to sell, and/or importing the ’962

ZTE Devices to practice the claimed methods.          Defendants are thereby liable for direct

infringement.

       31.      Additionally, Defendants are liable for indirect infringement of the ’962 patent

because they induce and/or contribute to the direct infringement of the patent by their customers

and other end users who use the ’962 ZTE Devices to practice the claimed methods.

       32.      On information and belief, each Defendant is a 3GPP member organization, or is

affiliated with a 3GPP member organization, and has known of the ’962 patent at least as early as

December 2010, when it was disclosed to 3GPP via ETSI.
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       33.        On information and belief, despite having knowledge of the ’962 patent,

Defendants named in this Count have and continue to specifically intend for persons who acquire

and use such devices, including Defendants’ customers, to use such devices in a manner that

infringes the ’962 patent, including at least claims 1, 2, 11, 12, and 13. Defendants knew or

should have known that their actions — including instructing customers and end users regarding

use of the ’962 ZTE Devices — have and continue to actively induce infringement.

       34.        On information and belief, Defendants named in this Count have known and

know that their products accused of infringing (and/or components thereof) are a material part of

the inventions of the ’962 patent, are especially made and/or adapted for use in infringing the

’962 patent, and are not staple articles or commodities of commerce suitable for substantial non-

infringing use.

       35.        On information and belief, despite having knowledge of the ’962 patent and

knowledge that they are directly and/or indirectly infringing one or more claims of the ’962

patent, Defendants named in this Count have nevertheless continued their infringing conduct and

disregarded an objectively high likelihood of infringement; thus, Defendants’ infringing

activities relative to the ’962 patent have been, and continue to be, willful, wanton and deliberate

in disregard of CCE’s rights.

       36.        On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import the ’962 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       37.        On information and belief, ZTE and Verizon test, make, use, offer for sale, sell,

and/or import the ’962 Verizon Mobile Devices described in this Count, pursuant to one or more
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contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and Verizon are jointly, severally, or alternatively liable for

infringements described in this Count.

       38.       On information and belief, ZTE and Sprint test, make, use, offer for sale, sell,

and/or import the ’962 Sprint Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and Sprint are jointly, severally, or alternatively liable for

infringements described in this Count.

       39.       On information and belief, ZTE and T-Mobile test, make, use, offer for sale, sell,

and/or import the ’962 T-Mobile Mobile Devices described in this Count, pursuant to one or

more contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and T-Mobile are jointly, severally, or alternatively liable for

infringements described in this Count.

       40.       CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT III

                       (INFRINGEMENT OF U.S. PATENT NO. 7,941,174)

       41.       CCE incorporates paragraphs 1 through 15 herein by reference.

       42.       CCE is the assignee of the ’174 patent, entitled “Method for Multicode

Transmission by a Subscriber Station,” with ownership of all substantial rights in the ’174 patent,

including the right to exclude others and to enforce, sue and recover damages for past and future

infringements. A true and correct copy of the ’174 patent is attached as Exhibit C.
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       43.      The ’174 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       44.      Defendants ZTE, AT&T, and T-Mobile have and continue to directly and/or

indirectly infringe (by inducing infringement and/or contributing to infringement) one or more

claims of the ’174 patent in this judicial district and elsewhere in Texas and the United States,

including at least claims 1, 6, 9, 14, 18, and 19, by, among other things, making, using, offering

for sale, selling and/or importing ZTE mobile devices, including, for example: the ZTE Avail,

the ZTE Z221 GoPhone, and the ZTE Z431 GoPhone, sold or otherwise distributed by or

through AT&T (the “’174 AT&T Mobile Devices”); and the ZTE Concord, the ZTE T-Mobile

4G Hotspot, and the ZTE T-Mobile Sonic 2.0 Mobile Hotspot, sold or otherwise distributed by

or through T-Mobile (the “’174 T-Mobile Mobile Devices”). These devices are collectively

referred to as the “’174 ZTE Devices.”

       45.      Defendants directly infringe the apparatus claims of the ’174 patent by making,

offering to sell, selling, and/or importing the ’174 ZTE Devices. Defendants also directly

infringe the ’174 patent by making, using, selling, offering to sell, and/or importing the ’174

ZTE Devices to practice the claimed methods.          Defendants are thereby liable for direct

infringement.

       46.      Additionally, Defendants are liable for indirect infringement of the ’174 patent

because they induce and/or contribute to the direct infringement of the patent by their customers

and other end users who use the ’174 ZTE Devices to practice the claimed methods.

       47.      On information and belief, each Defendant is a 3GPP member organization, or is

affiliated with a 3GPP member organization, and has known of the ’174 patent at least as early as

August 2010, when it was disclosed to 3GPP via ETSI.


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       48.        On information and belief, despite having knowledge of the ’174 patent,

Defendants named in this Count have and continue to specifically intend for persons who acquire

and use such devices, including Defendants’ customers, to use such devices in a manner that

infringes the ’174 patent, including at least claims 1, 6, 9, 14, 18, and 19. Defendants knew or

should have known that their actions — including instructing customers and end users regarding

use of the ’174 ZTE Devices — have and continue to actively induce infringement.

       49.        On information and belief, Defendants named in this Count have known and

know that their products accused of infringing (and/or components thereof) are a material part of

the inventions of the ’174 patent, are especially made and/or adapted for use in infringing the

’174 patent, and are not staple articles or commodities of commerce suitable for substantial non-

infringing use.

       50.        On information and belief, despite having knowledge of the ’174 patent and

knowledge that they are directly and/or indirectly infringing one or more claims of the ’174

patent, Defendants named in this Count have nevertheless continued their infringing conduct and

disregarded an objectively high likelihood of infringement; thus, Defendants’ infringing

activities relative to the ’174 patent have been, and continue to be, willful, wanton and deliberate

in disregard of CCE’s rights.

       51.        On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import the ’174 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       52.        On information and belief, ZTE and T-Mobile test, make, use, offer for sale, sell,

and/or import the ’174 T-Mobile Mobile Devices described in this Count, pursuant to one or
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more contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and T-Mobile are jointly, severally, or alternatively liable for

infringements described in this Count.

       53.       CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT IV

                       (INFRINGEMENT OF U.S. PATENT NO. 8,055,820)

       54.       CCE incorporates paragraphs 1 through 15 herein by reference.

       55.       CCE is the assignee of the ’820 patent, entitled “Apparatus, System, and Method

for Designating a Buffer Status Reporting Format Based on Detected Pre-Selected Buffer

Conditions,” with ownership of all substantial rights in the ’820 patent, including the right to

exclude others and to enforce, sue and recover damages for past and future infringements. A true

and correct copy of the ’820 patent is attached as Exhibit D.

       56.       The ’820 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       57.       Defendants ZTE, AT&T, Verizon, Sprint, and T-Mobile have and continue to

directly and/or indirectly infringe (by inducing infringement and/or contributing to infringement)

one or more claims of the ’820 patent in this judicial district and elsewhere in Texas and the

United States, including at least claims 1, 4, 6, 7, 8, 9, 10, 12, 15, 17, 18, 19, 20, and 21, by,

among other things, making, using, offering for sale, selling and/or importing ZTE mobile

devices, including, for example: the ZTE Z998 and ZTE Overture, sold or otherwise distributed

by or through AT&T (the “’820 AT&T Mobile Devices”); the ZTE Jetpack 4G LTE Mobile
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Hotspot 890L, sold or otherwise distributed by or through Verizon (the “’820 Verizon Mobile

Devices”); the ZTE Force and the ZTE Flash, sold or otherwise distributed by or through Sprint

(the “’820 Sprint Mobile Devices”); and the ZTE Anthem 4G, the ZTE Avid 4G, and the ZTE T-

Mobile Sonic 2.0 Mobile Hotspot, sold or otherwise distributed by or through T-Mobile (the

“’820 T-Mobile Mobile Devices”). These devices are collectively referred to as the “’820 ZTE

Devices.”

       58.      Defendants directly infringe the apparatus claims of the ’820 patent by making,

offering to sell, selling, and/or importing the ’820 ZTE Devices. Defendants also directly

infringe the ’820 patent by making, using, selling, offering to sell, and/or importing the ’820

ZTE Devices to practice the claimed methods.            Defendants are thereby liable for direct

infringement.

       59.      Additionally, Defendants are liable for indirect infringement of the ’820 patent

because they induce and/or contribute to the direct infringement of the patent by their customers

and other end users who use the ’820 ZTE Devices to practice the claimed methods.

       60.      On information and belief, each Defendant is a 3GPP member organization, or is

affiliated with a 3GPP member organization, and has known of the ’820 patent at least as early as

June 2009, when it was disclosed to 3GPP via ETSI.

       61.      On information and belief, despite having knowledge of the ’820 patent,

Defendants named in this Count have and continue to specifically intend for persons who acquire

and use such devices, including Defendants’ customers, to use such devices in a manner that

infringes the ’820 patent, including at least claims 1, 4, 6, 7, 8, 9, 10, 12, 15, 17, 18, 19, 20, and

21. Defendants knew or should have known that their actions — including instructing customers

and end users regarding use of the ’820 ZTE Devices — have and continue to actively induce

infringement.
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       62.        On information and belief, Defendants named in this Count have known and

know that their products accused of infringing (and/or components thereof) are a material part of

the inventions of the ’820 patent, are especially made and/or adapted for use in infringing the

’820 patent, and are not staple articles or commodities of commerce suitable for substantial non-

infringing use.

       63.        On information and belief, despite having knowledge of the ’820 patent and

knowledge that they are directly and/or indirectly infringing one or more claims of the ’820

patent, Defendants named in this Count have nevertheless continued their infringing conduct and

disregarded an objectively high likelihood of infringement; thus, Defendants’ infringing

activities relative to the ’820 patent have been, and continue to be, willful, wanton and deliberate

in disregard of CCE’s rights.

       64.        On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import the ’820 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       65.        On information and belief, ZTE and Verizon test, make, use, offer for sale, sell,

and/or import the ’820 Verizon Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and Verizon are jointly, severally, or alternatively liable for

infringements described in this Count.

       66.        On information and belief, ZTE and Sprint test, make, use, offer for sale, sell,

and/or import the ’820 Sprint Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such
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devices.     Accordingly, ZTE and Sprint are jointly, severally, or alternatively liable for

infringements described in this Count.

       67.       On information and belief, ZTE and T-Mobile test, make, use, offer for sale, sell,

and/or import the ’820 T-Mobile Mobile Devices described in this Count, pursuant to one or

more contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and T-Mobile are jointly, severally, or alternatively liable for

infringements described in this Count.

       68.       CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                            COUNT V

                       (INFRINGEMENT OF U.S. PATENT NO. 7,218,923)

       69.       CCE incorporates paragraphs 1 through 15 herein by reference.

       70.       CCE is the assignee of the ’8923 patent, entitled “Control of Terminal

Applications in a Network Environment,” with ownership of all substantial rights in the ’8923

patent, including the right to exclude others and to enforce, sue and recover damages for past and

future infringements. A true and correct copy of the ’8923 patent is attached as Exhibit E.

       71.       The ’8923 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       72.       Defendants ZTE, AT&T and Sprint have and continue to directly infringe one or

more claims of the ’8923 patent in this judicial district and elsewhere in Texas and the United

States, including at least claims 24 and 26, by, among other things, making, using, offering for

sale, selling and/or importing ZTE mobile devices, including, for example: the ZTE Radiant, the
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ZTE Z998, the ZTE Avail 2, the ZTE Sonata 4G, the ZTE Overture, the ZTE Prelude, and the

ZTE Velox, sold or otherwise distributed by or through AT&T (the “’8923 AT&T Mobile

Devices”); and the ZTE Force, the ZTE Flash, and the ZTE Warp Sequent, sold or otherwise

distributed by or through Sprint (the “’8923 Sprint Mobile Devices”).        These devices are

collectively referred to as the “’8923 ZTE Devices.”

       73.      Defendants directly infringe the apparatus claims of the ’8923 patent by making,

offering to sell, selling, and/or importing the ’8923 ZTE Devices. Defendants are thereby liable

for direct infringement.

       74.      On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import ’8923 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       75.      On information and belief, ZTE and Sprint test, make, use, offer for sale, sell,

and/or import ’8923 Sprint Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, ZTE and Sprint are jointly, severally, or alternatively liable for

infringements described in this Count.

       76.      CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.




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                                          COUNT VI

                     (INFRINGEMENT OF U.S. PATENT NO. 6,810,019)

       77.     CCE incorporates paragraphs 1 through 15 herein by reference.

       78.     CCE is the assignee of the ’019 patent, entitled “Reducing Interference in Inter-

Frequency Measurement,” with ownership of all substantial rights in the ’019 patent, including

the right to exclude others and to enforce, sue and recover damages for past and future

infringements. A true and correct copy of the ’019 patent is attached as Exhibit F.

       79.     The ’019 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       80.     Defendants ZTE, AT&T, and T-Mobile have and continue to directly infringe one

or more claims of the ’019 patent in this judicial district and elsewhere in Texas and the United

States, including at least claims 11, 12 and 13, by, among other things, making, using, offering

for sale, selling and/or importing ZTE mobile devices, including, for example: the ZTE Avail,

the ZTE Z221 GoPhone, and the ZTE Z431 GoPhone, sold or otherwise distributed by or

through AT&T (the “’019 AT&T Mobile Devices”); and the ZTE Concord, the ZTE T-Mobile

4G Hotspot, and the ZTE T-Mobile Sonic 2.0 Mobile Hotspot, sold or otherwise distributed by

or through T-Mobile (the “’019 T-Mobile Mobile Devices”). These devices are collectively

referred to as the “’019 ZTE Devices.”

       81.     Defendants directly infringe the apparatus claims of the ’019 patent by making,

offering to sell, selling, and/or importing the ’019 ZTE Devices. Defendants are thereby liable

for direct infringement.

       82.     On information and belief, each Defendant is a 3GPP member organization, or is

affiliated with a 3GPP member organization, and has known of the ’019 patent at least as early as

May 2009, when it was disclosed to 3GPP via ETSI.
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          83.       On information and belief, despite having knowledge of the ’019 patent and

knowledge that they are directly infringing one or more claims of the ’019 patent, Defendants

named in this Count have nevertheless continued their infringing conduct and disregarded an

objectively high likelihood of infringement; thus, Defendants’ infringing activities relative to the

’019 patent have been, and continue to be, willful, wanton and deliberate in disregard of CCE’s

rights.

          84.       On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import ’019 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.        Accordingly, ZTE and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

          85.       On information and belief, ZTE and T-Mobile test, make, use, offer for sale, sell,

and/or import ’019 T-Mobile Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.        Accordingly, ZTE and T-Mobile are jointly, severally, or alternatively liable for

infringements described in this Count.

          86.       CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

their infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                              COUNT VII

                          (INFRINGEMENT OF U.S. PATENT NO. 6,377,804)

          87.       CCE incorporates paragraphs 1 through 15 herein by reference.


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       88.     CCE is the assignee of the ’804 patent, entitled “Mobile Communication

Systems,” with ownership of all substantial rights in the ’804 patent, including the right to

exclude others and to enforce, sue and recover damages for past and future infringements. A true

and correct copy of the ’804 patent is attached as Exhibit G.

       89.     The ’804 patent is valid, enforceable and was duly issued in full compliance with

Title 35 of the United States Code.

       90.     Defendants ZTE and AT&T have and continue to directly and/or indirectly

infringe (by inducing infringement and/or contributing to infringement) one or more claims of

the ’804 patent in this judicial district and elsewhere in Texas and the United States, including at

least claims 1, 3, 4, 5, and 7 by, among other things, making, using, offering for sale, selling

and/or importing ZTE mobile devices, including, for example: the ZTE Z998 and ZTE Overture,

sold or otherwise distributed by or through AT&T (the “’804 ZTE Mobile Devices”). These

devices are collectively referred to as the “’804 ZTE Devices.”

       91.     Defendants directly infringe the ’804 patent by making, using, selling, offering to

sell, and/or importing the ’804 ZTE Devices to practice the claimed methods. Defendants are

thereby liable for direct infringement.       Additionally, Defendants are liable for indirect

infringement of the ’804 patent because they induce and/or contribute to the direct infringement

of the patent by their customers and other end users who use the ’804 ZTE Devices to practice

the claimed methods.

       92.     ZTE has had knowledge of the ’804 patent, at least as early as service of this First

Amended Complaint in this action. AT&T has had knowledge of the ’804 patent, at least as

early as service of Plaintiff’s Original Complaint in C.A. 6:13-cv-507.

       93.     On information and belief, despite having knowledge of the ’804 patent,

Defendants named in this Count have specifically intended and continue to specifically intend
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for persons who acquire and use the ’804 ZTE Devices, including Defendants’ customers, to use

such devices in a manner that infringes the ’804 patent, including at least claims 1, 3, 4, 5, and 7.

Defendants knew or should have known that their actions — including instructing customers and

end users regarding use of the ’804 ZTE Devices — have and continue to actively induce

infringement.

       94.      On information and belief, Defendants named in this Count have known and

know that their products accused of infringing (and/or components thereof) are a material part of

the inventions of the ’804 patent, and are not staple articles of commerce suitable for substantial

non-infringing use.

       95.      On information and belief, ZTE and AT&T test, make, use, offer for sale, sell,

and/or import the ’804 AT&T Mobile Devices described in this Count, pursuant to one or more

contractual agreements between them relating to, at least, the distribution and sale of such

devices.     Accordingly, HTC and AT&T are jointly, severally, or alternatively liable for

infringements described in this Count.

       96.      CCE has been damaged as a result of Defendants’ infringing conduct described in

this Count. Defendants are, thus, liable to CCE in an amount that adequately compensates it for

Defendants’ infringements, which, by law, cannot be less than a reasonable royalty, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                    JOINDER OF PARTIES

       97.      CCE incorporates paragraphs 1 through 97 herein by reference.

       98.      On information and belief, AT&T, Verizon, Sprint, and T-Mobile have each

purchased or otherwise acquired from ZTE certain mobile devices for sale, resale, and/or

distribution to their customers (and other end users) that are the subject of Counts I through VII


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(or some subset thereof). Thus, for these Counts, the right to relief against AT&T, Verizon,

Sprint, and/or T-Mobile is asserted jointly and severally with ZTE.

       99.     The alleged infringements set forth in Counts I through VII arise out of the same

transaction, occurrence, or series of transactions or occurrences relating to the testing, making,

using, offering for sale, selling, and/or importing of the ZTE mobile devices made the subject of

Counts I through VII.

       100.    Questions of fact common to all Defendants will arise in this action including, for

example, infringement by, or through use of, ZTE mobile devices.

       101.    Thus, joinder of ZTE, AT&T, Verizon, Sprint, and T-Mobile is proper in this

litigation pursuant to 35 U.S.C. § 299(a).

                                        JURY DEMAND

       CCE hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

                                    PRAYER FOR RELIEF

       CCE requests that the Court find in its favor and against Defendants, and that the Court

grant CCE the following relief:

       a.      Judgment that one or more claims of the ’9923, ’962, ’174, ’820, ’8923, ’019, and
               ’804 patents have been infringed, either literally and/or under the doctrine of
               equivalents, by Defendants and/or by others whose infringements have been
               induced by Defendants and/or by others to whose infringements Defendants have
               contributed;

       b.      Judgment that Defendants account for and pay to CCE all damages to and costs
               incurred by CCE because of Defendants’ infringing activities and other conduct
               complained of herein;

       c.      Judgment that Defendants account for and pay to CCE a reasonable, ongoing,
               post-judgment royalty because of Defendants’ infringing activities and other
               conduct complained of herein;



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      d.    That Defendants’ infringements relative to the ’9923, ’962, ’174, ’820, and/or
            ’019 patents be found willful from the time that Defendants became aware of the
            infringing nature of their products, and that the Court award treble damages for
            the period of such willful infringement pursuant to 35 U.S.C. § 284;

      e.    That CCE be granted pre-judgment and post-judgment interest on the damages
            caused by Defendants’ infringing activities and other conduct complained of
            herein; and

      f.    That CCE be granted such other and further relief as the Court may deem just and
            proper under the circumstances.




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Dated: March 21, 2014              Respectfully submitted,

                                   /s/ Edward R. Nelson, III
                                   Edward R. Nelson, III
                                   enelson@nbclaw.net
                                   Texas State Bar No. 00797142
                                   Brent N. Bumgardner
                                   bbumgarnder@nbclaw.net
                                   Texas State Bar No. 00795272
                                   Barry J. Bumgardner
                                   barry@nbclaw.net
                                   Texas State Bar No. 00793424
                                   S. Brannon Latimer
                                   blatimer@nbclaw.net
                                   Texas State Bar No. 24060137
                                   Thomas C. Cecil
                                   tcecil@nbclaw.net
                                   Texas State Bar No. 24069489
                                   NELSON BUMGARDNER CASTO, P.C.
                                   3131 West 7th Street, Suite 300
                                   Fort Worth, Texas 76107
                                   Phone: (817) 377-9111
                                   Fax: (817) 377-3485

                                   T. John Ward, Jr.
                                   Texas State Bar No. 00794818
                                   J. Wesley Hill
                                   Texas State Bar No. 24032294
                                   Claire Abernathy Henry
                                   Texas State Bar No. 24053063
                                   WARD & SMITH LAW FIRM
                                   P.O. Box 1231
                                   1127 Judson Rd. Ste. 220
                                   Longview, Texas 75606-1231
                                   (903) 757-6400
                                   (903) 757-2323 (fax)
                                   jw@jwfirm.com
                                   wh@wsfirm.com
                                   ch@wsfirm.com

                                   ATTORNEYS FOR PLAINTIFF
                                   CELLULAR COMMUNICATIONS
                                   EQUIPMENT LLC




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) this 21st day of March, 2014.


                                             /s/ Edward R. Nelson, III




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